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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS


                                         )
UNITED STATES OF AMERICA                 )
                                         )
V.                                       )       Crim. No. 15-cr-10271-WGY
                                         )
ALEX LEVIN                               )
                                         )
      DEFENDANT’S SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
     MOTION IN LIMINE TO EXCLUDE GOVERNMENT EVIDENCE DUE TO
                    FAILURE TO TIMELY DISCLOSE

       The defendant, Alex Levin, submits this supplement in support of his motion to

exclude government evidence due to its failure to timely disclose. Dkt. 158. The

defendant offers this supplement in order to expand upon the points made in the initial

motion.

       The defendant has moved to exclude all evidence provided by the government on

or after May 13, 2019. The timeline of events in this case is as follows:


Date                   Event
August 12, 2015        The defendant is arrested at his home in Norwood, MA by federal
                       agents following the discovery of child pornography on one of his
                       laptops. The affidavit submitted in support of the criminal
                       complaint identifies the child pornography as seven videos and one
                       still image. He appeared before a magistrate judge later that day
                       and was detained.
August 17, 2015        The defendant’s detention hearing is held. During his testimony,
                       Boston Police Detective Michael Sullivan testifies that seven video
                       files and one still image of child pornography were found on the
                       laptop. He indicates that the laptop and other electronic devices are
                       undergoing further forensic examination.
September 17, 2015     A federal grand jury indicts the defendant for a single count of
                       possession of child pornography in violation of 18 U.S.C. §

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                    2252A(a)(5)(B).
October 26, 2015    The government provides discovery to the defendant. The
                    discovery includes search warrant documents, an audio recorded
                    interview of the defendant, arrest reports, FBI CART reports,
                    chain of custody documents, and U.S. Postal inspection
                    documents.
November 1, 2015    The government provides discovery to the defendant. The
                    discovery includes an affidavit in support of a search warrant.
November 20, 2015   The Court sets an initial trial date of April 4, 2016. A final pretrial
                    conference is scheduled for March 7, 2016.
March 7, 2016       The Court continues the trial date to June 13, 2016. The
                    government is ordered to disclose documents pursuant to L.R.
                    116.1 by May 16, 2016, and to disclose its witnesses before June
                    6, 2016.
April 20, 2016      The Court grants the defendant’s motion to suppress evidence.
May 17, 2016        The government files an interlocutory appeal of the Court’s
                    allowance of the motion to suppress.
May 18, 2016        The Court cancels the June 13, 2016 trial date.
October 27, 2017    The First Circuit Court of Appeals vacates the allowance of the
                    motion to suppress.
December 5, 2017    The Court sets a trial date of July 23, 2018.
April 18, 2018      The defendant sends a letter to the government requesting
                    additional discovery. This letter is appended as Exhibit 1.
June 13, 2018       The Court grants the government’s assented-to motion to continue
                    the trial date. The trial is rescheduled for January 14, 2019.
August 3, 2018      The defendant sends a second letter to the government requesting
                    additional discovery. This letter is appended as Exhibit 2.
October 29, 2018    The Court grants the defendant’s motion to continue the trial date.
                    The trial is rescheduled for May 20, 2019. The final pretrial
                    conference is later scheduled for May 14, 2019.
December 14, 2018   The defendant files a motion for discovery after the government
                    fails to respond to either of the letters sent requesting additional
                    information.
January 16, 2019    The Court orders the government to provide certain items of
                    discovery to the defendant.
February 7, 2019    The government provides the ordered discovery to the defendant.
April 30, 2019      Counsel for the defendant contacts the government concerning 21-
                    day disclosures.
May 1, 2019         The government indicates to the defendant by letter that it
                    anticipates providing witness statements to the defendant prior to
                    the May 14, 2019 final pretrial conference. The government also
                    indicates that it expects to provide an exhibit list by May 6, 2019.

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                       The government includes the CV of one of its witnesses with the
                       letter.
May 13, 2019           The defendant received an e-mail from the government at 10:31
                       P.M. The e-mail includes 45 pages of discovery, which includes
                       screenshots of data from the defendant’s computer. The
                       screenshots indicate that there were in fact 13 video files of child
                       pornography found on the computer. Counsel for the defendant is
                       also informed that the screenshots indicate that 46 still images of
                       child pornography were discovered. This marks the first time that
                       the defendant was notified by the government as to the number of
                       child pornography files that were discovered on the computer, as
                       well as the locations of the files.
May 16, 2019           The government sends additional discovery to the defendant. This
                       includes a report of an examination of the defendant’s computer
                       conducted from May 6, 2019 to May 15, 2019. It also includes
                       additional reports of tests recently conducted on the computer.

       The government has had nearly four years to disclose this evidence to the

defendant. Instead, it chose to do so less than one week prior to trial. This case concerns

complex issues of computer forensics. The defendant has been assisted by a computer

forensic expert, Joseph Nicholls. However, less than one week is simply not enough time

to completely review this materials, let alone do so to the extent required to effectively

represent the defendant at trial. The proper remedy is for this Court to enter an order

excluding all exhibits and information that the defendant was provided on or after May

13, 2019. Federal Rule of Criminal Procedure 16(d)(2)(C) grants the Court the discretion

to exclude any late filed evidence. The defendant moves that the Court do so.

                                                         ALEX LEVIN
                                                         By his attorneys,
                                                         CARNEY & ASSOCIATES

                                                         J. W. Carney, Jr.
                                                         J. W. Carney, Jr.
                                                         B.B.O. # 074760

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May 19, 2019




                                   Certificate of Service

       I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on
or before the above date.



                                                  J. W. Carney, Jr.
                                                  J. W. Carney, Jr.


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                          UNITED STATES DISTRICT COURT
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        AFFIDAVIT SUPPORTING DEFENDANT’S SUPPLEMENTAL
     MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO EXCLUDE
     GOVERNMENT EVIDENCE DUE TO FAILURE TO TIMELY DISCLOSE

       I, J. W. Carney, Jr., state that the facts contained in the attached motion are true to

the best of my information and belief.

       Signed under the penalties of perjury.


                                              J. W. Carney, Jr.
                                              J. W. Carney, Jr.

May 19, 2019




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